                       Case 17-12560-KJC             Doc 3063-1        Filed 11/27/18        Page 1 of 2



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                            Chapter 11
         In re:
                                                                            Case No. 17-12560 (KJC)
         WOODBRIDGE GROUP OF COMPANIES, LLC, et
         al.,1                                                              (Jointly Administered)

                                            Debtors.                        Hearing Date:
                                                                                December 19, 2018 at 2:00 p.m. (ET)
                                                                            Objection Deadline:
                                                                                December 11, 2018 at 4:00 p.m. (ET)


                                                   NOTICE OF MOTION

         TO:      (I) THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF
                  DELAWARE, (II) COUNSEL TO THE DIP LENDER, (III) COUNSEL FOR THE
                  COMMITTEE, (IV) COUNSEL FOR THE NOTEHOLDER GROUP, (V) COUNSEL
                  FOR THE UNITHOLDER GROUP, (VI) ALL NOTEHOLDERS KNOWN BY THE
                  DEBTORS TO HAVE INTERESTS IN ANY LOAN DOCUMENTS ASSOCIATED
                  WITH THE PROPERTY, (VII) ALL CONTRACTORS AND CONTRACT
                  COUNTERPARTIES KNOWN BY THE DEBTORS TO HAVE BEEN ASSOCIATED
                  WITH THE PROPERTY, (VIII) THE TITLE INSURER, (IX) SOTHEBY’S, AND
                  (X) ALL PARTIES THAT HAVE REQUESTED NOTICE IN THESE CHAPTER 11
                  CASES PURSUANT TO LOCAL RULE 2002-1

                 PLEASE TAKE NOTICE that Woodbridge Group of Companies, LLC and its affiliated
         debtors and debtors in possession in the above-captioned cases (collectively, the “Debtors”) have
         filed the attached Debtors’ Motion for Entry of an Order (I) Authorizing the Sale of 376
         Crystal Canyon Drive, Carbondale, Colorado Property Owned by the Debtors Free and Clear
         of Liens, Claims, Encumbrances, and Other Interests; (II) Approving the Related Purchase
         Agreement; and (III) Granting Related Relief (the “Motion”).

                 PLEASE TAKE FURTHER NOTICE that responses or objections to the Motion must
         be filed on or before December 11, 2018 at 4:00 p.m. (ET) (the “Objection Deadline”) with the
         United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 North Market Street,
         Wilmington, Delaware 19801. At the same time, you must serve a copy of any response or


         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
         numbers, and their addresses are not provided herein. A complete list of this information may be obtained on the
         website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         undersigned counsel for the Debtors.

01:23901642.1
                     Case 17-12560-KJC        Doc 3063-1      Filed 11/27/18     Page 2 of 2



         objection upon the undersigned counsel to the Debtors so as to be received on or before the
         Objection Deadline.

              PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION WILL
         BE HELD ON DECEMBER 19, 2018 AT 2:00 P.M. (ET) BEFORE THE HONORABLE
         KEVIN J. CAREY IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
         OF DELAWARE, 824 NORTH MARKET STREET, 5TH FLOOR, COURTROOM NO. 5,
         WILMINGTON, DELAWARE 19801.

               PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS TO THE
         MOTION ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE WITH
         THIS NOTICE, THEN THE COURT MAY GRANT THE RELIEF REQUESTED IN
         THE MOTION WITHOUT FURTHER NOTICE OR A HEARING.

         Dated:   November 27, 2018             /s/ Betsy L. Feldman                  .
                  Wilmington, Delaware          YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                Sean M. Beach (No. 4070)
                                                Edmon L. Morton (No. 3856)
                                                Ian J. Bambrick (No. 5455)
                                                Betsy L. Feldman (No. 6410)
                                                Rodney Square, 1000 North King Street
                                                Wilmington, Delaware 19801
                                                Tel: (302) 571-6600
                                                Fax: (302) 571-1253

                                                -and-

                                                KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                                Kenneth N. Klee (pro hac vice)
                                                Michael L. Tuchin (pro hac vice)
                                                David A. Fidler (pro hac vice)
                                                Jonathan M. Weiss (pro hac vice)
                                                1999 Avenue of the Stars, 39th Floor
                                                Los Angeles, California 90067

                                                Counsel to the Debtors and Debtors in Possession




01:23901642.1
                                                        2
